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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KILBRIDE INVESTMENTS LIMITED,                               CIVIL ACTION
BUSYSTORE LIMITED IN
LIQUIDATION, and
BERGFELD CO. LIMITED,
       Plaintiffs,
                                                            NO. 13-5195
               v.

CUSHMAN & WAKEFIELD OF
PENNSYLVANIA, INC.,
BLANK ROME LLP, and
COZEN O’CONNOR, P.C.,
      Defendants,

             and

CUSHMAN & WAKEFIELD OF
PENNSYLVANIA, INC.,
      Third Party Plaintiff,

               v.

CHAIM ZEV LEIFER,
HASKEL KISH and
JFK BLVD. ACQUISITION G.P., LLC,
       Third Party Defendants.


DuBois, J.                                                                         April 25, 2018
                                    MEMORANDUM


I.     INTRODUCTION

       This is a fraud case in which Kilbride Investments Ltd., Busystore Limited in

Liquidiation, and Bergfeld Co. Ltd. (collectively, “plaintiffs”), allege that defendants, Cushman

& Wakefield of Pennsylvania, Inc. (“C&W”), Blank Rome LLP (“Blank Rome”), and Cozen

O’Conner, P.C. (“Cozen”), induced them into investing at least $27 million in a real-estate

development project called the River City Property (sometimes referred to as “River City” or the


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“Property”), in Philadelphia, Pennsylvania, by fraudulently misrepresenting the nature of that

project. Plaintiffs’ Amended Complaint alleges one count against defendant C&W — a count

for fraudulent misrepresentation. Presently before the Court are C&W’s Motion to Exclude the

Testimony of Stephen D. Roach, C&W’s Motion to Exclude the Testimony of Albert R. Hughes

III, and C&W’s Motion for Summary Judgment.

II.    BACKGROUND

       The River City Property is an 8.2 acre stretch of land along JFK Boulevard divided into

five parcels. Pls.’ Resp. to Def. C&W’s Statement of Undisputed, Material Facts ¶2 (“Pls.’

Resp. SOF”) (Document No. 158, filed May 24, 2017); C&W’s Statement of Undisputed,

Material Facts ¶2 (“C&W SOF”).

       In the spring of 2006, non-parties Ravinder Chawla and Richard Zeghibe developed a

plan to purchase and flip the Property. Pls.’ Resp. SOF ¶¶ 3, 44; C&W SOF ¶¶ 3, 44. Chawla

and Zeghibe retained Charles Naselsky, an attorney at Cozen, and later at Blank Rome, in

connection with the acquisition of River City from its owner at the time, R&F Penn Center

Associates, L.P. (“R&F Penn”). Pls.’ Resp. SOF ¶4; C&W SOF ¶¶14. Through JFK Blvd.—a

single purpose entity established to purchase River City—Chawla and Zeghibe contracted to

purchase River City from R&F Penn for $32.5 million. C&W SOF ¶ 5. JFK Blvd. retained

architect James Rappoport to develop a mixed-use design plan (the “Rappoport Plan”) for the

Property featuring ten high-rise towers and twelve million square feet of available space for the

purpose of marketing River City to potential investors. C&W SOF ¶ 8; Pls.’ Resp. SOF ¶ 8.

       Prior to contracting for the purchase of River City from R&F Penn, Naselsky retained

C&W to appraise the Property. Pls.’ Resp. SOF ¶ 14; C&W SOF ¶14. On May 18, 2006,

C&W’s Managing Director, Gerald McNamara sent Naselsky a draft engagement letter, which



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listed C&W and Cozen as the “Parties to this Agreement” and listed the “Intended User” as

Cozen. C&W SOF, Ex. P 61, “May 18, 2006, Email from McNamara to Naselsky with Draft

Engagement Letter.” Naselsky revised the Draft Engagement Letter to change the “Parties to

This Agreement” to JFK Acquisition, G.P., LLC, and “The Intended User” from Cozen to read

“client, together with its professionals, investors, + potential lenders may consider the appraisal

without further permission.” C&W SOF, Ex. P-120, “Revisions to draft engagement letter.”

Naselsky also changed the date of value to “First Date of Inspection.” PCSF ¶ 127. C&W

accepted the proposed changes. C&W SOF ¶ 23; PCSF ¶ 130. McNamara assigned the task of

appraising the Property to Daniel McNeil, an appraiser at C&W. PCSF ¶ 135.

       On June 23, 2006, C&W submitted a draft appraisal (“June 2006 Draft Appraisal”) to

Naselsky which valued the Property at $57 million. C&W SOF, Ex. P-71, Cushman &

Wakefield Appraisal for JFK Properties – Date of Inspection 6-9-06; PCSF ¶ 138. After

reviewing the June 2006 Draft Appraisal, Naselsky sent McNamara an email in which he stated

that he was “concerned with several provisions findings and assumptions,” and wished to meet

with McNamara to discuss the appraisal. PCSF ¶ 170; C&W SOF ¶ 38. McNeil met with

Naselsky on July 10, 2006, to discuss the June 2006 Draft Appraisal. PCSF ¶ 175; C&W SOF ¶

39. On July 20, 2006, McNeil emailed Naselsky a revised appraisal (“July 2006 Draft

Appraisal”), although the date of the appraisal stated that it was issued on June 23, 2006. PCSF

¶¶190, 194.

       During the spring of 2006, the Philadelphia City Council began to consider a proposed

height ordinance that is at the heart of this lawsuit. On April 20, 2006, Philadelphia City

Councilman Darrell Clarke introduced an ordinance which imposed a height limit of 125 feet on

buildings near the Benjamin Franklin Parkway. PCSF ¶ 241; C&W SOF ¶¶147, 148. On May



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25, 2006, City Council amended the ordinance to expressly include two of the five parcels

constituting River City. PCSF ¶ 241, 244; C&W SOF ¶¶149–51. City Council passed the

amended ordinance on June 8, 2006, but it was not signed by the mayor. C&W SOF, Ex. C-54,

“Legislative History Summary of Bill No. 060292.” The amended ordinance was reintroduced

in City Council on September 14, 2006, and on November 8, 2006, City Council issued notice of

a public hearing to be held on November 28, 2006, regarding the amended ordinance. PCSF ¶

326; C&W SOF, Ex. CW-59. Following the November 28, 2006, public hearing, the amended

ordinance was voted favorably out of committee. C&W SOF ¶ 153. City Council passed the

amended ordinance on December 14, 2006, and on January 23, 2007, the mayor signed it. PCSF

¶¶ 378, 380.

       On November 16, 2006, C&W issued its final appraisal report for the Property (the 2006

Final Appraisal Report), valuing the Property at $77 million. PCSF ¶330, Ex P-78. Although the

appraisal was issued on November 16, 2006, the 2006 Final Appraisal Report continued to bear

the date of June 23, 2006, as the date of the appraisal. Id. The 2006 Final Appraisal Report

stated that there was no height limitation in the zoning for the Property and made no mention of

the amended height ordinance. Id.

       In September 2006, Zeghibe and Chawla contracted with Eli Weinstein, a New Jersey

based real estate investor who was a member of the Orthodox Jewish community, for the

purchase of River City for $62.5 million. C&W SOF ¶¶ 51, 56; PCSF ¶ 296. Weinstein, along

with Chawla and others, solicited Berish Berger and his various corporate entities—including

plaintiffs—as investors in the Property. Am. Compl. ¶ 28. Plaintiffs allege that, as a result of

fraudulent misrepresentations regarding the height limitation, the feasibility of the proposal, and




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the appraisal of the real estate, they invested at least $27 million in River City between

December 2006 and January 2007. Id.

       On December 18, 2012, plaintiffs filed suit in the United States District Court for the

Southern District of New York. Defendants filed a Motion to Change Venue on January 31,

2013. On February 25, 2013, plaintiffs filed an Amended Complaint. On August 28, 2013,

Judge Paul Oetken granted the Motion to Change Venue and transferred the case to the Eastern

District of Pennsylvania. On April 17, 2017, C&W filed the pending Motion for Summary

Judgment, Motion to Exclude the Expert Testimony of Stephen D. Roach, and Motion to

Exclude the Expert Testimony of Albert R. Hughes. The Court first addresses the Daubert

Motions, relevant to the Motion for Summary Judgment, before turning to C&W’s Motion for

Summary Judgment.

III.   DAUBERT MOTIONS

       A.       Applicable Law

       Federal Rule of Evidence 702 provides that:

       If scientific, technical, or other specialized knowledge will assist the trier of fact
       to understand the evidence or to determine a fact in issue, a witness qualified as
       an expert by knowledge, skill, experience, training, or education, may testify
       thereto in the form of an opinion or otherwise, if (1) the testimony is based upon
       sufficient facts or data, (2) the testimony is the product of reliable principles and
       methods, and (3) the witness has applied the principles and methods reliably to
       the facts of the case.

       Under Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141 (1999), this gatekeeping

function extends beyond scientific testimony to testimony based on “technical” and “other

specialized” knowledge. Using the Kumho analysis, a court must determine whether an expert

“employs in the courtroom the same level of intellection rigor that characterizes the practice of

an expert in the relevant field.” Id. at 152.



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       Rule 702 has “a liberal policy of admissibility.” Pineda v. Ford Motor Co., 520 F.3d

237, 243 (3d Cir. 2008) (quoting Kannankeril v. Terminix Int’l, Inc., 128 F.3d 802, 806 (3d Cir.

1997)). As such, the “rejection of expert testimony is the exception and not the rule.” FED. R.

EVID. 702, advisory committee’s note. “Rule 702 embodies three distinct substantive restrictions

on the admission of expert testimony: qualifications, reliability, and fit.” Elcock v. Kmart Corp.,

233 F.3d 734, 741 (3d Cir. 2000) (citing In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 741 (3d

Cir. 1994)).

       In this case, defendant challenges only the reliability of plaintiffs’ experts. The reliability

requirement of Daubert “means that . . . the expert must have ‘good grounds’ for his or her

belief.” In re Paoli II, 35 F.3d at 742 (quoting Daubert v. Merrell Dow Pharm., 509 U.S. 579,

590 (1993)). The test of reliability is “flexible” and “the law grants a district court the same

broad latitude when it decides how to determine reliability as it enjoys in respect to its ultimate

reliability determination.” Kumho Tire, 526 U.S. at 141–42 (emphasis omitted). In determining

whether the reliability requirement is met, courts examine the following factors where

appropriate:

           (1) whether a method consists of a testable hypothesis; (2) whether the
           method has been subject to peer review; (3) the known or potential rate of
           error; (4) the existence and maintenance of standards controlling the
           technique’s operation; (5) whether the method is generally accepted;
           (6) the relationship of the technique to methods which have been
           established to be reliable; (7) the qualifications of the expert witness
           testifying based on the methodology; and (8) the non–judicial uses to
           which the method has been put.

United States v. Mitchell, 365 F.3d 215, 235 (3d Cir. 2004) (citing In re Paoli II, 35 F.3d at 742

n. 8). This list is not exhaustive and all the factors are not applicable in every case.

Kannankeril, 128 F.3d at 806–07. Under the Daubert reliability prong, the party proffering the

expert “do[es] not have to demonstrate to the judge by a preponderance of the evidence that the


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assessments of their experts are correct, they only have to demonstrate by a preponderance of

evidence that their opinions are reliable.” In re Paoli II, 35 F.3d at 744 (emphasis omitted). “As

long as an expert’s scientific testimony rests upon ‘good grounds, based on what is known,’ it

should be tested by the adversary process—competing expert testimony and active cross–

examination—rather than excluded from jurors’ scrutiny for fear that they will not grasp its

complexities or satisfactorily weigh its inadequacies.” Mitchell, 365 F.3d at 244 (quoting Ruiz–

Troche v. Pepsi Cola of P.R. Bottling Co., 161 F.3d 77, 85 (1st Cir. 1998)).

       B.        Discussion

       C&W moves to exclude the testimony of plaintiffs’ experts Stephen Roach and Albert

Hughes. The Court addresses these motions in turn.

            1.   Testimony of Stephen Roach

       Stephen Roach is a certified member of the Appraisal Institute and a Principal at Jones,

Roach & Caringella, Inc., an appraisal firm. Resp. Opp. Mot. Exclude Roach Expert Testimony,

Document No. 152, May 24, 2017, Ex. 1, Roach Expert Report (“Roach Report”), 59. Roach

has worked in the appraisal field since 1979 and has testified as an expert witness before several

courts. Id.

       For this litigation, Roach prepared an appraisal report in which he reviewed C&W’s 2006

Final Appraisal Report. Appraisals and appraisal reviews are governed by the Uniform

Standards of Professional Appraisal Practice (“USPAP”), which establishes mandatory standards

and methodology for performing appraisal work. See 49 PA. CODE §36.51 (2010).

USPAP defines an appraisal as “the act or process of developing an opinion of value.” C&W

Mot. to Exclude Roach Exp. Testimony, Ex. D-95, 2016 – 2017 USPAP, at 1:8 (“Mot. Exclude

Roach”). Standard 1 of USPAP establishes the requirements for the development of an



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appraisal. Standard 3 of USPAP governs the requirements for an appraisal review. The purpose

of a Standard 3 report is to “develop a credible opinion of the quality of another appraiser’s work

that was performed as part of an appraisal or appraisal review assignment.” Mot. Exclude Roach,

Ex. D-95, 2016 – 2017 USPAP, at 29:877–78. Roach prepared a Standard 3 appraisal review in

which he examined C&W’s 2006 Final Appraisal Report.

       In his report, Roach concluded that the C&W appraisal analysis “relied upon unsupported

and illogical assumptions,” which led to a value conclusion that was not credible and misleading

appraisal report. Roach Report at 1. Roach further concluded that the C&W appraisal was

“performed recklessly and was so full of errors and omissions that it is essentially impossible to

conclude that the Cushman & Wakefield signatories actually believed in the conclusions.” Id.

As part of the appraisal review process, Roach examined multiple drafts of the 2006 Appraisal

and the 2006 Final Appraisal Report. Id. at 2. He personally inspected the Property and

materials relied upon by the C&W appraisers, including the land sale data used by the C&W

appraisers. Id. Roach also compared the 2006 Final Appraisal to the 2004 Appraisal of the

Property conducted by C&W. Id. at 4.

       C&W moves to exclude Roach’s testimony as unreliable on the ground that Roach’s

report fails to comply with industry standards as outlined by USPAP. Plaintiffs argue in

response that compliance with USPAP is not required under Daubert and is relevant only to the

weight, not admissibility, of Roach’s testimony. The Court first addresses whether compliance

with USPAP is required for admissibility under Rule 702 before turning to C&W’s other

arguments.




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        2. Whether Compliance with USPAP is required

       Plaintiffs assert that noncompliance with USPAP is irrelevant for purposes of

admissibility and instead is relevant only to the weight of the expert’s testimony. The Court

disagrees.

       Plaintiffs rely primarily on Whitehouse Hotel Ltd Partnership v. C.I.R., in which the Fifth

Circuit concluded that USPAP compliance was not the sole determining factor as to whether an

expert report was reliable and instead went to the weight of expert’s report, not admissibility.

615 F.3d 321, 332 (5th Cir. 2010) (emphasis added)). The Third Circuit has concluded,

however, that compliance with industry standards is one factor a court may consider to determine

reliability under Daubert. See e.g. Murray v. Marina Dist. Development Co., 311 Fed. App’x

521, 524 (expert testimony inadmissible where deviation from industry standards corresponded

with failure to demonstrate methodology and would not withstand peer review). Accordingly,

while noncompliance with USPAP is not dispositive, it is one factor that the Court will consider

in determining whether Roach’s testimony is reliable.

         3.        Reliability

              a)     Whether Roach impermissibly exceeded the scope of a Standard 3 Appraisal
                     by providing his own value opinion

       C&W asserts that Roach’s testimony must be excluded because his Report exceeds the

scope of a Standard 3 appraisal by rendering “opinions that affect the value of the property.” A

reviewer who provides a value opinion must comply with USPAP Standard 1. Mot. Exclude

Roach at 8. The Court disagrees.

       Under USPAP, when an appraisal reviewer is asked to develop his or her own opinion of

value, the reviewer must comply with Standard 1. Mot. Exclude Roach, Ex. D-95, 2016–2017

USPAP at 32: 990-995. USPAP cautions appraisal reviewers who do not conduct a Standard 1


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appraisal to avoid language which would lead a reader to believe that the reviewer conducted an

appraisal: “If the language of such rejection is based on errors or inconsistencies in the original

work and does not include any qualifiers that would relate to a direction in value, it does not

imply an appraisal by the reviewer.” Id. at 138: 216–18.

        C&W provides several examples of statements in the Roach Report which it believes

render value opinions and are unsupported by evidence as required by Standard 1. For example,

C&W argues that the Roach Report’s statement that, “there is not adequate demand in the market

to support the subject project” constitutes a value opinion that lacks evidentiary support. Mot.

Exclude Roach at 17. The Court disagrees and concludes that Roach’s conclusion is based on

perceived errors or inconsistencies in the original appraisal, in compliance with USPAP Standard

3. In addition to examining the market analysis in the 2006 Final Appraisal, Roach reviewed

condominium sales in Philadelphia in the four years preceding the 2006 Final Appraisal and

concluded that the Property would have had to sell condominiums at a price which exceeded the

average for new condominium sales for the preceding year by 43%. Roach Report at 11–12.

Roach also compared the volume of condominium sales in the vicinity of the Property in the four

years leading up to the 2006 Final Appraisal and determined that the proposed development

project would have provided twenty-six times the number of units sold in downtown

Philadelphia in the previous four years. Id. at 12. Roach thus determined that the 2006 Final

Appraisal lacked credibility because of “the high prices concluded to be required by the

appraisers for the project to be financially feasible, [and] the extraordinary inventory of the

project against historic sales volumes . . . .” Id.

        The Court declines to review each Roach statement which C&W asserts implies a value

opinion. C&W’s arguments with respect to these statements are not a basis for excluding



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Roach’s testimony. To the contrary, Roach does not render a value opinion, but instead complies

with the requirement of USPAP Standard 3 that an appraisal reviewer “develop an opinion as to

the completeness, accuracy, adequacy, relevance, and reasonableness of the analysis in the work

under review . . .” Ex. D-95, 2016–2017 USPAP, 32: 979–82. As a consequence, the Court

concludes that the fact that Roach did not conduct his own Standard 1 appraisal of the Property is

not a basis for excluding his testimony.

             b)    Whether Roach Misrepresented Information in the 2006 Appraisal

       C&W also contends that Roach’s testimony must be excluded because his Report

misrepresented information in the 2006 Appraisal by selectively quoting from the 2006

Appraisal to support his own conclusions.    The Court rejects this argument as a basis for

excluding Roach’s testimony.

       C&W’s objections to Roach’s characterization of the 2006 Appraisal are predicated on

disagreements over his conclusions. For example, C&W asserts that Roach mischaracterizes the

2006 Appraisal’s conclusion regarding office market demand, because he quoted the 2006

Appraisal as stating that office market “has moved away from equilibrium” while omitting the

2006 Appraisal’s statement that the commercial office market “still reflects an improvement over

the past year.” Mot. Exclude Roach, at 23. C&W asserts that the conclusion to be drawn from

the 2006 Appraisal is that “demand in the real estate market was increasing” and that “the market

for office space was strong.” Mot. Exclude Roach at 23. However, “an expert is . . . permitted

to base his opinion on a particular version of disputed facts and the weight to be accorded to that

opinion is for the jury.” Walker v. Gordon, No. 01-CV-4106, 46 Fed. App’x 691, * 695 – 96 (3d

Cir. September 17, 2002). To the extent that C&W disagrees with Roach’s ultimate conclusions

based on his failure to include portions of the 2006 Appraisal that it views as pertinent, such



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objections are appropriately addressed on cross-examination. Id. at *696; see also In re

Processed Egg Prods. Antitrust Litig., No. 08-MD-2002, 2016 WL 4582236, *11 (E.D.Pa.

September 1, 2016) (“To the extent that the plaintiffs contend that [the expert] misrepresented

aspects of the factual record, they will have opportunity to cross examine him on those points at

trial.”).

                 c)    Whether Roach improperly compared the 2004 and 2006 Appraisals

            C&W further objects to Roach’s testimony on the ground that he improperly compared

C&W’s 2006 Appraisal to its 2004 Appraisal, without conducting a Standard 3 review of the

2004 Appraisal. C&W argues that in doing so, Roach improperly assumed the validity of the

2004 Appraisal and failed to recognize significant distinctions between the 2004 and 2006

Appraisals. The Court disagrees with C&W that Roach’s failure to conduct a complete Standard

3 review of the 2004 Appraisal renders his report so unreliable as to preclude its admissibility.

            Roach testified that he “considered [the 2004 Appraisal] in the context of and in

comparison with the 2006 appraisal report.” Mot. Exclude Roach, Ex. CW-70, Roach Dep. at

302:6–8. For example, in the 2004 Appraisal, C&W concluded that the same easement would

have been “an extraordinary burden on the utility and value of the subject property” and could

not value two parcels of the Property because the air rights over an active SEPTA rail line were

too speculative. Roach Report at 4, 31. Just two years later, C&W appraisers concluded that the

SEPTA easement actually increased the value of the Property by “interconnecting the aggregate

site through the elevated overpasses.” Roach Report at 5. Roach relied on his comparison of the

two appraisals, an interview with an urban design planner, and testimony by McNeil that C&W

relied exclusively on Rappoport in determining the feasibility of connecting the property through

an elevated railroad, to conclude that the 2006 Appraisal “does not contain sufficient rationale



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for the significant change in the premise of the appraisal” with respect to the railroad easement.

Roach Report at 43.

        UPSAP requires an appraisal reviewer to “develop an opinion as to the completeness,

accuracy, adequacy, relevance, and reasonableness of the analysis in the work under review.”

USPAP, Standard 3, 32-32: 972 – 78. Roach examined the 2004 Appraisal to develop an

opinion on the reliability of the 2006 Final Appraisal and the methodology used by the C&W

appraisers. Roach’s conclusions are supported by other data, including, inter alia, multiple draft

appraisals, interviews with Philadelphia City planners and real estate consultants, 1 and market

data set forth in the Report. As a consequence, the Court concludes that Roach’s failure to

conduct a Standard 3 Appraisal review of the 2004 Appraisal does not render Roach’s testimony

inadmissible. In re Paoli II, 35 F.3d at 746 (stating that the Court “should only exclude evidence

if the flaw [in the expert’s investigative process] is large enough that the expert lacks ‘good

grounds’ for his or her conclusions.”).

        C&W also contends that a comparison of the 2004 and 2006 Appraisals is inappropriate

because the Report “assumes a parity that does not exist on the face of the two appraisals.” Mot.

Exclude Roach at 13. Specifically, C&W avers that in the 2006 Final Appraisal, it appraised all

five parcels of the Property, while the 2004 Appraisal included only three of the five parcels in

its value opinion. And the stated purpose of the two appraisals differed: in 2004, C&W’s client

was a lender in the process of updating mortgage files without any active efforts to sell or


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  C&W also asserts that Roach impermissibly relies on opinions of others without personally verifying the
information received. This is not a basis for excluding Roach’s testimony. Evidence relied on by an expert need not
be admissible if it is the “type of evidence reasonably relied upon by experts in the field in forming opinions or
inferences about the subject.” In re Paoli II, 35 F.3d at 748. USPAP requires appraisal reviewers to support their
conclusions with “sufficient information to enable the client and intended users to understand the rationale for the
opinions and conclusions.” Ex. D-95, 2016–2017 USPAP, 34: 1068–69. The Court concludes that Roach’s reliance
on others knowledgeable in the field—and at least one individual upon whom he has relied in completing nearly
twenty appraisal assignments—is not prohibited by USPAP and is the type of evidence relied on by experts in the
appraisal field.

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develop River City or the associated air rights, whereas in 2006, C&W’s client was a prospective

buyer who sought to develop the Property and make use of the associated air rights.

       The Court concludes that the differences between the 2004 and 2006 Appraisals are not a

basis for excluding Roach’s testimony. The Report acknowledges that only three of the five

parcels of the Property were considered in the 2004 Appraisal’s value opinion. Roach Report at

42–43. The Report explains the significance of the 2004 Appraisal’s conclusion that two of the

five parcels were too speculative: “It is apparent that no such engineering report was provided

for the 2006 appraisal report either, and an itemization of the extraordinary cost of developing

the entirety of the subject was not completed.” Roach Report, at 31. Thus, while neither the

2004 Appraisal nor the 2006 Appraisal relied on an engineering report or any other assessment

of the cost of developing the air rights over the SEPTA rail line, in valuing River City for

investors in 2006, C&W priced the parcels notwithstanding the uncertainty over the impact of

the SEPTA rail line.

       The Court also agrees with plaintiffs that C&W fails to explain why a difference in the

stated purpose of the two Appraisals renders comparison inappropriate. To the contrary, USPAP

states that “[a]n appraiser must not allow the intended use of an assignment or a client’s

objectives to cause the assignment results to be biased.” USPAP, Ex. D-95, 15: 449–50.

       The Court rejects C&W’s challenge to Roach’s testimony based on his comparison of the

2004 Appraisal and the 2006 Appraisal and concludes that Roach’s methodology “ ‘may be

explored at trial,’ and ‘the trier of fact may properly consider [any such] deficiencies in

determining the weight to be accorded to his ultimate conclusions.’” Blood Reagents, 2015 WL

6123211, at *13 (quoting Poust v. Huntleigh Healthcare, 998 F. Supp. 478, 498 (D.N.J. 1998)).




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             d)     Whether Roach improperly opined on the motivation of the C&W appraisers

        Finally, C&W argues that Roach inappropriately opined about the motivation of the

appraisers in violation of USPAP. The Report states that the “appraisal was performed

recklessly and was so full of errors and omissions that it is essentially impossible to conclude

that the Cushman & Wakefield signatories actually believed in the conclusions.” Roach Report,

1. The Report also states: “It boggles the mind that a professional appraiser would incorporate

over $3 billion in sales revenue in a residual valuation model with no support whatsoever.” Id. at

15.

        The few courts which have addressed this issue have concluded than an appraisal

reviewer may not testify as to the appraisers’ state of mind. In Federal Housing Finance v.

Nomura Holding America, Inc., No. 11-CV-6201, 2015 WL 353929, at *5 (S.D.N.Y. Jan. 28,

2015), the court precluded the expert appraisal reviewer from testifying that the original

appraisers believed that the appraisal accurately reflected the property’s value, concluding that

the expert could not testisfy “on the subjective beliefs of the appraisers.” Id.; see also

Massachusetts Mut. Life Ins. Co. v. DB Structured Products, Inc., No. 11-CV-30039, 2015 WL

2130060, at *12 (D.Mass. May 7, 2015) (precluding expert from testifying as to the original

appraisers’ state of mind)). Because “it is the function of the jury to decide the facts and to

assess the credibility of witnesses,” United States v. Rockwell, 781 F.2d 985, 990 (3d Cir. 1986),

the Court agrees with those courts which have concluded that an appraisal reviewer may not

testify as to the state of mind of the appraisers.

        Roach may, however, testify as to whether the 2006 Appraisal is credible. USPAP

defines an appraisal review as “the act or process of developing and communicating an opinion

about the quality of another appraiser’s work . . .” Mot. Exclude Roach, Ex. D-95, USPAP at 1:



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23– 24. USPAP permits an appraisal reviewer to develop an opinion about the quality of another

appraiser’s work, including stating that an appraisal is not credible. Id. at 2: 38–39; 137: 170 –

183 (appropriate language in an appraisal review includes, inter alia, “I reject the value

conclusion as lacking credibility due to the errors and/or inconsistencies found”). Accordingly,

Roach is permitted to testify as to the credibility of the 2006 Appraisal. See Federal Housing

Finance, 2015 WL 35329, at *6 (concluding that credibility of the appraisal “is a distinct inquiry

from the issue of an individual appraiser’s belief and whether it was honestly held”); Mass. Mut.

Life Ins., 2015 WL 2130060, at *13 (permitting reviewer to testify as to the appraisals’

credibility).

            e)   Conclusion

        Excepting only Roach’s conclusions with respect to state of mind and credibility of the

C&W appraisers, the Court concludes that plaintiffs have shown by a preponderance of the

evidence that Roach’s opinion is reliable. Subject to that qualification, the Roach motion is

denied. Roach’s report was consistent with the requirements of a Standard 3 appraisal review.

He examined the 2006 Appraisal and the 2004 Appraisal and stated the reasons for his

disagreement with the C&W appraisers. Roach’s qualifications—39 years of experience in the

appraisal field—provide further assurance that his opinion is reliable. Elcock, 223 F.3d at 749

(“[A]n expert’s level of expertise may affect the reliability of the expert’s opinion.”).


        4. Testimony of Albert Hughes

        Plaintiffs also offer the testimony of Albert Hughes, a real estate appraiser and principal

of A.R. Hughes & Company. Hughes has worked as an appraiser for over 30 years. Affidavit of

Albert R. Hughes III at 1. He is a certified general appraiser, a member of the Appraisal

Institute, and an approved Appraisal Institute Instructor. Qualifications of Hughes, Ex. D-102.


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       Hughes conducted a retrospective appraisal of River City for the pending litigation to

determine the value of the Property as of August 1, 2006. Hughes concluded that the market

value of the Property on that date was $30,500,000. Hughes Report at 2, 50. As part of his

investigation, Hughes researched market trends, collected data regarding the physical

characteristics of the Property, analyzed information relating to existing or proposed physical

improvements on the subject site, conducted a physical inspection of the Property and its

vicinity, performed a sales comparison analysis, and determined the highest and best use of the

Property. Hughes Report at 13. In addition, Hughes examined, inter alia, C&W’s 2006 Final

Appraisal and draft appraisal, land sale deeds, zoning regulations effective in 2006, and various

environmental reports analyzing the Property.

       C&W moves to exclude Hughes’s testimony on the ground that it is unreliable. The

Court concludes that C&W seeks to exclude the testimony of Hughes primarily because it

disagrees with Hughes’s conclusions. The Court declines to exclude Hughes’s testimony and

denies the Hughes motion.


       5.   Reliability of Hughes’ Opinion

       C&W raises numerous challenges to the reliability of Hughes’ opinion on the grounds

that Hughes’s opinions are unsupported by data and are the product of flawed methodology.

Specifically, it argues that (1) the Hughes Report contains “no market information or analysis” to

support his conclusions; (2) Hughes’s determination of the highest and best use of the Property is

flawed; and (3) Hughes failed to select appropriate Comparable Sales and applied arbitrary

adjustments to those Comparable Sales which he selected. Mot. Exclude Hughes at 9–10. The

Court addresses each argument in turn.




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             a) Whether Hughes Failed to Analyze Relevant Market Information


       C&W first contends that Hughes failed to conduct an absorption analysis to consider

demand for residential properties, office space, or hotels. Mot. Exclude Hughes at 16. C&W

believes that “analysis of demand for a large parcel such as River City Property would require an

appraiser to analyze the supply that a development project on the property would create, evaluate

the rate at which new inventory would be absorbed by the market, and confirm that new units

could be sold at prices that would support the proposed development.” Mot. Exclude Hughes at

13. Plaintiffs argue that C&W simply disagrees with Hughes’s failure to appraise the Property as

envisioned by the Rappoport Plan,—a design created by architect James Rappoport which

envisioned the Property with ten high-rise towers featuring a combination of condominium,

hotel, retail, and commercial space—which is not a basis for excluding Hughes testimony. The

Court agrees with plaintiffs.

       Hughes testified that an absorption analysis was “not necessary” for the purpose of this

appraisal because “[w]e did not appraise that [Rappoport] development plan . . . [w]e appraised

the value of the land.” Ex. CW-32, Hughes Dep. 246:19 –24, 247:1. Hughes also stated that he

did not consider the Rappoport development plan because “it was too speculative” given “the

density of the project . . .” Therefore, Hughes “valued [the Property] according to the land sales

in terms of what land sales in the City of Philadelphia . . . .” Id. 270:1-3. Moreover, the Hughes

Report addressed demand for office space and concluded that “the only significant large-scale

office buildings delivered in Center City since 1993 . . . . were constructed with a major lead

tenant in tow (Comcast, Dechert Price, Glaxo Smithkline) and in two cases (Cira Centre and

Comcast) included varying levels of tax breaks and/or aid to come to fruition.” Hughes Report

at 17–18. And Hughes testified that “[w]e track the office market repeatedly over the 25-year


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period. The total inventory of the office space has stayed exactly even.” Ex. 32, Hughes Dep.

267: 13–16. Hughes reasoned that “[b]ecause there was no increase in demand, you would have

had to have taken a tenant from some other building, and that’s too speculative to do a valuation

on.” Id. 273:11–16.

       Hughes determined based on thirty years of experience that appraising the property as

envisioned by the Rappoport Plan was too speculative based on his assessment of the market.

He therefore appraised the land value of the Property. And Hughes’s appraisal of the land value

of the Property is based on, inter alia, an assessment of the population growth in the Philadelphia

region and the vicinity of the Property, real estate and tax assessments of the subject Properties,

and an extensive zoning analysis. That Hughes based his conclusions in part on his own

experience in the appraisal industry is not a basis upon which to exclude his testimony. See

Kumho Tire, 526 U.S. at 156 (“[N]o one denies that an expert might draw a conclusion from a

set of observations based on extensive and specialized experience.”); Schneider v. Fried, 320

F.3d 396, 399 (3d Cir. 2003) (admitting expert testimony where expert relied in part “on his

broad knowledge . . . and his own experience . . .”); Comcast Cable Commc’ns, LLC v. Spring

Commc’ns Co., LP, 203 F.Supp.3d 499, 545 (E.D.Pa. 2016) (finding that expert testimony based

on review of relevant evidence and own expertise “sufficient foundation for reliability”)). C&W

also relies on its own expert, Peter Korpacz, who stated that Hughes failure to conduct an

analysis of the residential market and demand for retail and hotel space was “a missed

opportunity.” Mot. to Exclude Expert Testimony of Hughes at 14, 15. A disagreement among

experts is also not a basis upon which to exclude testimony. See In re Processed Egg Prods.

Antitrust Litig., 2016 WL 4582236 at *14 (“Should [plaintiffs] wish to criticize [expert’s]




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conclusions on the basis they are contradicted by . . . opinions from their own experts, they will

certainly be provided the opportunity to do so.”).


            b)   Whether Hughes’s Determination of the Highest and Best Use of the
                 Property is Unreliable

       C&W also assigns a number of errors to Hughes’s determination of the highest and best

use of River City, including that: (1) Hughes ignored the value of the Property as an assemblage

of five properties; (2) Hughes assumed that the pending ordinance limited construction on

Parcels D and E; and (3) Hughes ignored the development potential of three of the five parcels of

the Property.

        Under USPAP, an appraiser must “develop an opinion of the highest and best use of the

real estate.” Ex. D-95, 2016–2017 USPAP at 20:577. The “highest and best use” is defined as

the “reasonably probable and legal use of vacant land or an improved property that is physical

possible, appropriately supported, financially feasible, and that results in the highest value.” Ex.

CW-75, Appraisal Institute, The Appraisal of Real Estate, 14th Ed., at 333. In doing so, “[a]n

appraiser must analyze the relevant legal, physical, and economic factors to the extent necessary

to support the appraiser’s highest and best use conclusion(s).” Id. at 20:578–79.

       C&W argues that Hughes’s failure to consider “the possibility of a comprehensive

development plan” and to instead “focus on individual parcels rather than the assemblage of the

Property” renders his conclusion with respect to the highest and best use of the Property

unreliable. C&W focuses specifically on Hughes’s calculation of the floor area ratio (“FAR”) of

the Property, which is defined as “the relationship between the above-ground floor area of a

building, as described by the zoning or building code, and the area of the plot on which it

stands.” Ex. CW-78, DICTIONARY OF REAL ESTATE APPRAISAL at 94. C&W asserts



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that Hughes undervalued the property by improperly “fail[ing] to consider a plan that connected

and made use of all five parcels.” Mot. Exclude Hughes at 21.

       The Court rejects this argument as a basis for excluding Hughes’s testimony. Hughes

was not hired to value the Property as envisioned by the Rappoport Plan. Hughes’s Report states

that the FAR is dictated by local zoning codes, which assign a base FAR number according to

commercial zone. Hughes Report at 28–29. The zoning code also allows for “incentive area

bonuses” in FAR values for properties that are located in certain areas of the city, including those

properties located along JFK Blvd. Id. at 30. Hughes concluded that Parcel E did not qualify

for the incentive area bonus because it “does not have qualifying frontage for the incentive area.”

Id. at 31. The Report states that: “a buyer would not give parcel E credit for the . . . incentive

area as part of a consolidated development plan with Parcel D since feasibility of the entirety of

parcels D/E . . . would not be likely in a reasonable time frame, and thus any such application

even if made would be done to speculatively attempt to explain such density.” Id. at 31. The fact

that C&W’s expert does not view a combined development project between Parcels D and E as

too speculative is not a basis for excluding Hughes’s testimony.

       C&W next asserts that the Hughes Report mistakenly assumes that Bill 060292—the

height ordinance—applied to the property as of August 1, 2006, and imposed a height limit of

125 feet on parcels D and E, when the ordinance had no legal effect on the property at that time.

Mot. Exclude Hughes at 24–25. The Report states: “the Philadelphia Zoning Code was

Amended on 1/23/2007 (post-effective date) to restrict the height limit to 125 feet for newly

constructed buildings in the vicinity of the Benjamin Franklin Parkway . . . . Parcels D and E at

the subject property were subject to these new height limits. The Bill was originally passed by

City Council on 6/8/2006 but it was not signed into law by the Mayor until 1/23/2007. However,



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it was the City’s policy to enforce zoning per pending bills once out of committee; therefore, a

market buyer would have valued the subject as of the effective date assuming the height limit

would apply to their eventual development plan.” Hughes Report at 31. Hughes testified that his

partner on the appraisal, Bob Myers, interviewed a city planner who stated that “the zoning line

is on the property line between D and E . . . and the pending ordinance would be in place and in

control as of that June 8th date.” Ex. 32, Hughes Dep. 168:3–6.

       C&W asserts that an appraiser who relies on the “work” of a third-party must

independently verify the information provided by the third party or allow the third party to

review the final appraisal report. Mot. Exclude Hughes at 25. USPAP states that when a

signing appraiser relies on work done by others, “the signing appraiser is responsible for the

decision to rely on their work, . . . [must] have a reasonable basis for believing that those

individuals performing the work are competent . . . [and] must have no reason to doubt that the

work of those individuals is credible.” Ex. D-95, 2016–2017 USPAP at 28:858–62. C&W

presents no reason to doubt that seeking information from a city planner familiar with

Philadelphia zoning regulations is an unreliable method for determining which zoning

ordinances would have impacted the Property in 2006.

       C&W further contends that Hughes’s determination of the highest and best use of the

property is flawed because Hughes speculates about “market preferences” and the financial

feasibility of construction on all parcels without providing any evidentiary support. With respect

to knowledge of the market in conducting an appraisal, USPAP states that “the scope of work

necessary to ensure an adequate knowledge of the market for the subject property may range

from very little . . . to extensive new research. If the subject property is of a type frequently

appraised and in a locality where the appraiser regularly provides services, there may be little



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need for extensive market research beyond confirmation that the data available for analysis is

current, adequate, relevant, and credible. Ex. D-95, 2016–2017 USPAP, Advisory Opinion 22 at

152:145 – 49. Hughes testified: “I’m in this area all the time. So my market research is - - in the

course of my doing business, I’m researching constantly what’s happening there. So I’ve done

that over time on the market for office, for land and so forth.” Ex. PSJX-191, Hughes Dep. at

142: 3–9. And Hughes testified that he has appraised “office buildings, shopping centers, retail

shopping centers . . . vacant land, both for commercial and residential purposes, mixed-use

properties . . . .” Id. 46:12–17. Hughes further testified that in a typical appraisal, he researches:

“[a]rea, neighborhood analysis, submarket analysis, description of the site, description of the

improvements . . . zoning, real estate taxes.” Ex. CW-32, Hughes Dep. at 123:12–15. Based on

his knowledge of the marketplace and experience conducting appraisals, and a review of relevant

evidence, Hughes concluded that because of the Property’s “atypical requirement to incorporate

the rail lines into any development project . . . market buyers would not attribute any value” to

three of the five River City parcels without first conducting detailed engineering studies. Hughes

Report at 33. The Court concludes that is sufficient. 2 See Comcast Cable Commc’ns, LLC., LP,

203 F.Supp.3d at 545.




2
  C&W argues that Hughes’s testimony should be excluded because he relied on a statement by Bud Hirsch, a real
estate broker in Philadelphia who represented the buyer of River City in 2006, identified by C&W as JFK Blvd.
Based on the conversation with Hirsch, the Report states that “a broker who marketed the subject property . . . stated
that the 2006 buyer did not attribute any value” to the parcels over the rail line. Hughes Report at 33. C&W argues
that the statement made by Hirsch—that the buyer did not attribute any value to parcels over the rail line—is
unreliable because “it was purportedly uttered by a party that had every reason to hide its interest in Parcels A, B, C,
and D.” Mot. to Exclude Hughes Expert Testimony at 28. Experts may rely on hearsay testimony if it is the kind
normally relied on by experts in the field. FED. R. EVID. 703. Information from a real estate broker working in the
relevant market at the time of the sale of the property is the kind of evidence would certainly inform an appraiser’s
retrospective appraisal of a property. C&W may attack perceived weaknesses in Hughes’s reliance on Hirsch on
cross-examination. See United States v. 275.71 Acres of Land, No. 09-CV-233, 2013 WL 989956, at *14 (W.D.Pa.
Mar. 13, 2013)(In case involving expert testimony of appraiser, “supposed deficiencies . . . such as [expert’s]
deposition testimony that he talked to a county official who indicated it was difficult to raise crops on reclaimed
mine lands . . . are appropriate topics for cross-examination, not exclusion.”).

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       C&W next argues that the Hughes Report is unreliable based on the Report’s discussion

of the cost to build above the rail lines or the “plinth”—a “platform to build over the rail lines.”

Mot. Exclude Hughes at 29; Resp. Opp. to C&W Mot. Exclude Hughes at 24 n. 6. C&W argues

that Hughes considered the cost of developing all five parcels as an assemblage and improperly

considered the Rappoport Plan in the context of determining the cost of the plinth, while ignoring

the development plan in other parts of the Report. The Report states that Hughes used the

estimated cost of developing a plinth contained in the 2006 Appraisal—determined in the

Rappoport Plan—and applied that estimate to his calculation of the FAR. From those

calculations, Hughes determined that the cost of developing the plinth exceeded the value of the

land and accordingly, development of the property as described in the C&W Appraisal and the

Rappoport plan was not feasible. Hughes Report at 33; Ex. PSJX-191, Hughes Dep. 250:2–9;

251:17–23. There is nothing unreliable about Hughes’ consideration of the cost of the plinth set

forth in the C&W Appraisal to support his conclusion that the development of a rail line across

the Property was not feasible.

            c) Whether Hughes’s Comparable Sales Analysis is Flawed

       Finally, C&W argues that Hughes’s testimony must be excluded because his comparable

sales analysis is flawed and unreliable. Using the sales comparison approach, Hughes compared

the subject property with five similar properties, examining the “prices paid for similar

properties, prices asked by owners, and offers made by prospective purchasers.” Hughes Report

at 36. C&W states that the Property had “the capacity to be developed as a world-class complex

of office, residential, retail and hotel uses” and accordingly should have been compared to sites

like Hudson Yard or the World Trade Center. Mot. Exclude Hughes at 33. C&W further

contends Hughes erred in applying adjustments to the comparable sales properties, which are



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“necessary to reflect characteristics for which the comparables are deemed inferior . . . [or] to

account for superiorities at the comparables relative to the subject [property].” Hughes Report at

44. The fact that C&W’s own expert would have selected different properties than Hughes to

which to compare the Property is not a basis for excluding his testimony. And C&W does not

object to Hughes use of adjustments in analyzing comparables; it merely objects to the manner in

which he applied the adjustments. The Court concludes that such objections go to the weight,

not the admissibility of Hughes’s testimony. See Loenard v. Stemtech Int’l, Inc., 834 F.3d 376,

391 (3d Cir. 2016) (“disagreement with the calculation methodology and the underlying

assumptions . . . goes to the weight given to [expert’s] testimony, rather than admissibility”).


            d)   Whether Hughes may offer his November 3, 2016, letter as a rebuttal

       On November 3, 2016, Hughes submitted a letter to counsel in this case in which he

responded to the report prepared by Peter Korpacz on behalf of C&W. C&W asserts that the

Court should prevent Hughes from testifying about this letter because Hughes stated that he did

not conduct a rebuttal and he did not conduct a Standard 3 review of Korpacz’s review.

Specifically, Hughes testified: “I didn’t do a rebuttal . . . I read his review and then responded to

comments about his review.” Hughes Dep. 308: 16, 22–23. Plaintiffs argue that Hughes’s notes,

while not labeled a rebuttal, constitutes a rebuttal to Korpacz’s review. Moreover,

noncompliance with Standard 3 in rebutting Korpacz’s review goes to weight, rather than

admissibility.

       “The proper function and purpose of rebuttal testimony is to explain, repel, counteract or

disprove the evidence of the adverse party.” In re Tropicana Orange Juice Marketing and Sales

Practices Litig., No. 11-CV-7382, 2017 WL 2362848, at *5 (D.N.J. May 31, 2017) (quoting

United States v. Chrzanowski, 502 F.2d 573, 576 (3d Cir. 1974)). Hughes’s letter does just that


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and is directed at explaining or counteracting C&W’s expert. That it is not labeled a rebuttal or

that Hughes himself was unaware that his response could constitute a rebuttal is irrelevant.

Accordingly, the Court rejects C&W’s argument that Hughes’s rebuttal testimony contained in

the November 3, 2016 letter must be excluded.


             e) Conclusion

       For the foregoing reasons, the Court concludes that C&W’s objections to Hughes’s

testimony are based on disagreements over his conclusions, rather than his methodology.

Accordingly, C&W’s Motion to Exclude Hughes’s Testimony is denied.


IV.    MOTION FOR SUMMARY JUDGMENT

       A.     Applicable Law

       A motion for summary judgment should be granted if “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). A fact is

material when it “might affect the outcome of the suit under the governing law.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute is genuine “if the evidence is such that

a reasonable jury could return a verdict for the nonmoving party.” Id. The Court’s role at the

summary judgment stage “is not . . . to weigh the evidence and determine the truth of the matter

but to determine whether . . . there is sufficient evidence favoring the nonmoving party for a jury

to return a verdict for that party.” Id. at 249. In making this determination, “the court is required

to examine the evidence of record in the light most favorable to the party opposing summary

judgment, and resolve all reasonable inferences in that party’s favor.” Wishkin v. Potter, 476

F.3d 180, 184 (3d Cir. 2007). The party opposing summary judgment must identify evidence

that supports each element on which it has the burden of proof. Celotex Corp., 477 U.S. at 322.

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       B.     Discussion

       Plaintiffs assert three fraudulent misrepresentations with respect to C&W’s Appraisal.

First, they argue that the Appraisal affirmatively stated that River City was not subject to any

height restrictions when in fact, the Property was subject to a pending zoning ordinance that

limited the height of any building on the site to 125 feet. Second, plaintiffs argue that the

Appraisal fraudulently misrepresented that it complied with USPAP when it did not. Lastly,

plaintiffs claim that C&W’s Appraisal fraudulently misrepresented the value of River City at $77

million, when the actual value was much less.

       Under Pennsylvania law, a plaintiff must prove six elements to prove fraud: “1) a

misrepresentation, 2) material to the transaction, 3) made falsely, 4) with the intent of misleading

another to rely on it, 5) justifiable reliance resulted, and 6) injury was proximately caused by the

reliance.” Santana Products, Inc. v. Bobrick Washroom Equipment, Inc., 401 F.3d 123, 136 (3d

Cir. 2005) (citing Viguers v. Philip Morris USA, Inc., 837 A.2d 534 (Pa. Super. Ct. 2003)).

       C&W argues that the plaintiffs cannot establish: (1) that C&W made a misrepresentation

because there was no height limitation applicable to the Property at the time the Appraisal was

submitted and as a consequence, plaintiffs cannot provide any evidence that the Appraisal’s $77

million valuation was incorrect; (2) that C&W misrepresented hat it complied with USPAP (3)

that C&W intended to defraud plaintiffs or induce their reliance upon the Appraisal; (4) that

plaintiffs justifiably relied on the Appraisal because they were not among its “Intended Users”;

(5) or that plaintiffs losses were proximately caused by the C&W Appraisal.

       The Court addresses each argument in turn.




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            a)   Misrepresentation of Pending Height Ordinance

       C&W argues that it did not misrepresent the value of River City or the existence of a

height ordinance, because as of the effective date of the Appraisal on August 1, 2006, the

Property was not subject to any height restrictions. Memo. Supp. Summ. J. at 48. Plaintiffs

contend that pursuant to the pending ordinance doctrine, the height restriction impacted the

Property as early as May 1, 2006, well before the submission of the final Appraisal on November

16, 2006.

       Under the pending ordinance doctrine, zoning ordinances that are pending before City

Council are treated as law even if they are not yet adopted. See Casey v. Zoning Hearing Bd. of

Warwick Tp., 328 A.2d 464, 467 (Pa. 1974) (“When there has been a ‘sufficient public

declaration’ of an intent to amend the existing zoning ordinance, . . the pending amendment

governs the issuance of such permits.”) (citing Lhormer v. Bowen, 188 A. 2d 747 (Pa. 1963))).

An ordinance is “pending” when the City Council “has resolved to consider a particular scheme

of rezoning and has advertised to the public its intention to hold public hearings on the

rezoning.” Id. (quoting Boron Oil Co. v. Kimple, 284 A.2d 744, 747 (Pa. 1971)). Whether a

particular zoning regulation is “pending” is a factual determination.

       The parties dispute the date on which the ordinance was first advertised for public

hearing. Plaintiffs allege that the ordinance was initially advertised for public hearing on April

28, 2006, and that the first notice for public hearing was published in the Philadelphia Daily

News on May 1, 2006, in advance of the May 10, 2006 hearing. Pls.’ Resp. SOF ¶ 152. The

notice advertised public hearings on Bill No. 060292, which would impose “additional height

controls in the vicinity of the Benjamin Franklin Parkway, under certain terms and conditions.”

Pls.’ Resp. SOF ¶ 152. Plaintiffs argue that River City is “well within the ‘vicinity of the



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Benjamin Franklin Parkway’” and accordingly, was within the scope of the proposed rezoning as

introduced on April 20, 2006. Resp. Opp. Mot. Summ. J. at 27. C&W asserts that the ordinance

was first advertised for public hearing before Philadelphia City Council’s Committee on Rules

on November 8, 2006. C&W SOF ¶ 152. The Court concludes that there is sufficient evidence

upon which a jury could conclude that the height ordinance applied to the Property before

August 1, 2006, the date listed on the Appraisal.

       As initially introduced on April 20, 2006, the proposed height ordinance did not apply

specifically to River City, but instead applied to buildings near the Benjamin Franklin Parkway.

PCSF ¶ 241; C&W SOF ¶¶147, 148. Plaintiffs have presented evidence, and C&W now admits,

that the height ordinance applied to parcels D & E of the Property by May 25, 2006. PCSF ¶

241, 244; C&W SOF ¶¶149–51. Moreover, C&W asserts that August 1, 2006, is the date upon

which the Appraisal was finalized. However, plaintiffs have presented evidence that the

Appraisal was finalized and issued on November 16, 2006, despite the Appraisal’s valuation date

of August 1, 2006. Accordingly, by C&W’s own timeline, the Appraisal issued on November

16, 2006, was subject to the pending ordinance doctrine because the ordinance was advertised for

public hearing on November 8, 2006, prior to the date the Appraisal was finalized and issued.

Finally, the Court concludes that plaintiffs have raised a genuine issue of material fact with

respect to whether River City was subject to the April 27, 2006, notice, because the Property is

located only a few blocks from the Benjamin Franklin Parkway, which is arguably within the

vicinity of the Benjamin Franklin Parkway.


             b) Misrepresentation Based on Failure to Comply with USPAP and Valuation

       Plaintiffs also allege that the Appraisal fraudulently misrepresented that it complied with




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USPAP, when in reality, the Appraisal violated USPAP in several respects. C&W asserts that

there is no evidence that C&W Appraisal failed to adhere to USPAP standards in reaching its

valuation of the Property. The Court concludes that plaintiffs have raised a genuine issue of

material fact with respect to whether C&W’s Appraisal misrepresented its compliance with

USPAP and the stated $77 million value of the Property.

        Plaintiffs have presented evidence through their expert Stephen Roach, inter alia, that:

C&W failed to verify the purported $50 million contract of sale for the Property from JFK to

Chawla’s entity, World Acquisition Partners; C&W failed to adequately analyze the feasibility of

developing the Property by its failure to analyze absorption rates in the market with respect to

residential use and office space; C&W failed to adequately evaluate the financial feasibility of

the Property because the cost of building an elevated plane over the SEPTA rail lines would have

rendered the development unbuildable. See Roach Report at 8,9, 37; PSJX-73, McNamara Dep.

at 240: 5–241: 18; 244:3–244:9. Plaintiffs have also presented evidence that C&W failed to

disclose extraordinary assumptions 3 and hypothetical conditions relevant to its Appraisal,

including that the proposed project would be approved via a master plan and must conform with

zoning regulations and the height ordinance. Roach Report at at 27. And plaintiffs have

presented evidence that when C&W appraised the Property in 2004, it concluded that two parcels

of the Property could not be reliably valued due to SEPTA’s air rights, but in 2006, C&W relied

on the same data but assumed away the problem of SEPTA’s air rights. Id. at 43. Finally,

plaintiffs have presented evidence in the Hughes Report that the value of the property as of




3
 Under USPAP, an “extraordinary assumption” is defined as “an assumption, directly related to a specific
assignment, which, if found to be false, could alter the appraiser’s opinions or conclusions. . . . Extraordinary
assumptions presume as fact otherwise uncertain information about physical, legal or economic characteristics of the
subject property.” Resp. Opp. Mot. Summary J. at 30 n. 14.

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August 1, 2006, was approximately $30 million, significantly less than the $77 million valuation

in the 2006 Final Appraisal. Hughes Report at 2.

         Viewed in the light most favorable to plaintiffs, the Court concludes that plaintiffs have

raised a genuine issue of material fact with respect to whether C&W misrepresented that it

complied with USPAP, leading to a valuation unsupported by the data.


              c) Intent to Mislead

         C&W argues that, even if the Appraisal contained misrepresentations, plaintiffs cannot

prove that C&W made those misrepresentations with the requisite scienter. Memo. Supp. Mot.

Summ. J. at 52. The Court disagrees.

         “Scienter, or the maker’s knowledge of the untrue character of his representation, is a key

element in finding fraudulent misrepresentation.” Ira G. Steffy & Son, Inc. v. Citizens Bank of

Pa., 7 A.3d 278, 290 (Pa. Super. Ct. 2010) (citing Restatement (Second) of Torts §526, comment

a.). Under Pennsylvania law, scienter for fraud is satisfied upon a showing that “the false

representation was made knowingly, or in conscious ignorance of the truth, or recklessly without

caring whether it be true or false.” Warren Balderston Co. v. Integrity Trust Co., 170 A.282, 283

( Pa. 1934). A reckless representation involves more than negligence, “but an extreme departure

from the standards of ordinary care, and which presents a danger of misleading buyers and

sellers that is either known to the defendant or is so obvious that the actor must have been aware

of it.” In re ATI Technologies, Inc. Securities Litigation, 216 F.Supp.2d 418, 428 (E.D.Pa.

2002).

         Plaintiffs have presented evidence that C&W appraised River City in 2004 for a different

client and concluded that the “As-Is Fair Market Value” of the Property was $13.8 million.

PCSF ¶ 112, Ex. PSJX-73, Deposition of Gerald McNamara at 109:19–23. At that time, C&W


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determined that “the SEPTA right of way would hinder development of portions of the River

City Property.” Id. at ¶ 111, Ex. PSJX-73, Deposition of Gerald McNamara at 109:4 – 18.

Absent engineering reports to show the cost of development, C&W concluded in 2004, the cost

of developing two of the five parcels of River City was too speculative to consider as part of the

appraisal. Resp. in Opp. to Mot. Summ. J., at 36. In the course of conducting the appraisal of

the Property in 2006, plaintiffs have presented evidence that C&W did not seek to verify the

feasibility of Rappoport’s development plan and took Rappoport “at his word” with respect to

the project’s compliance with SEPTA’s engineering requirements. Resp. in Opp. to Mot. Summ.

J., at 36 – 37; PSJX-74, Deposition of Daniel McNeil at 221: 13 – 222:19. Plaintiffs have also

presented evidence that C&W appraisers relied on information provided by Naselsky and

Rappoport without taking any steps to verify that information, including the terms of the sale of

the Property between R&F Penn and JFK Blvd. PSJX-74, Deposition of Daniel McNeil at 231:

22 – 232: 24.

       The record contains evidence that C&W increased the appraised value of the Property

after McNeil met with Naselsky, who expressed discontent over the $57 million value in the June

2006 Draft Appraisal. At that meeting, McNeil testified that Naselsky provided him with either

a specific value in the range of $77 million or an expected range of values. Deposition of Daniel

McNeil at 89:6–90:14. Moreover, the record contains evidence that, despite the significant

change in the Property’s appraised value, the July 2006 Appraisal made no changes to the

Market Area Analysis or Market Analysis Section and no changes in the July 2006 Appraisal’s

determination of highest and best use of the Property. The July 2006 Appraisal did contain

changes to the Land Residual Analysis, the purpose of which was to test the reasonableness of

the C&W valuation. PSJX-74, McNamara Dep. at 257:6–22. McNamara testified as to the



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reasonableness of those conclusions and conceded that development was not feasible based on

the calculations set forth in the July 2006 Appraisal. Id. at 240:5–241: 18; 244:3 –244:9.

       Based on the evidence in the record, the Court concludes that plaintiffs have raised a

genuine issue of material fact with respect to whether C&W acted “knowingly, or in conscious

ignorance of the truth, or recklessly without caring whether [its representations were] true or

false.” Delahanty v. First Pa. Bank, 464 A. 2d 1243, 1252 (Pa. Super. Ct. 1983).


             d) Justifiable Reliance

       C&W argues that the Appraisal’s Intended User Provision barred plaintiffs from relying

on the Appraisal and accordingly, plaintiffs’ claimed reliance on the Appraisal is unjustifiable

per se. Mot. for Summary J. at 33. With respect to plaintiff Kilbride, C&W argues that

judgment must be entered against Kilbride because it never received or reviewed the Appraisal

and thus cannot have relied on the alleged misrepresentation. The Court first addresses whether

Kilbride alone is barred from claiming reliance when it never received the Appraisal before

turning to whether Busystore Limited and Bergfeld are barred from claiming justifiable reliance

by the Appraisal’s Intended User Provision


                  i.   Whether Kilbride Justifiably Relied

       C&W seeks to dismiss Kilbride’s claim for fraudulent inducement on the grounds that

there is no evidence that Kilbride ever received the Appraisal or learned of its material terms

from any source, before transmitting $12 million. C&W Reply at 8. Plaintiffs argue that

reliance by a prospective investor like Kilbride was foreseeable. Alternatively, plaintiffs assert

that Kilbride reasonably relied because Berger relied on the Appraisal and “misrepresentations

made to an agent will support a fraud claim by the principal regardless of whether the principal

was known at the time of the fraud.” Resp. Opp. Mot. Summary J. at 11.

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         Even if the Court concluded that an investor entity like Kilbride’s reliance on the C&W

Appraisal was foreseeable, plaintiffs must still prove that Kilbride actually relied on the

Appraisal. 4 See e.g., Taylor v. Nelson, No. 02-CV-6558, 2006 WL 266052, at *19 – 20 (E.D. Pa.

Jan. 31, 2006) (plaintiff had no knowledge of the appraisal until after she closed on the

property)); Scott v. LTS Builders LLC, No. 10-CV-0581, 2012 WL 5207456, at *1 (M.D. Pa. Oct.

22, 2012) (“The record establishes that Plaintiffs never received a copy of the Report, so it is

irrelevant that the Report may have authorized HSBC to give Plaintiffs a copy.”)). With respect

to the funds given on behalf of Kilbride, Berger testified that he spoke with a representative of

Kilbride, James Levy, about investing in the Property and Kilbride agreed to provide the

requested funding. PSJX-103, Berger Dep. 148:14–150: 23. He stated that the discussion he had

with Levy was “not very long” and that he described the project “in broad terms.” Id. 149:8–9,

18–19. Berger does not state that he provided Levy with the Appraisal or with the information

contained in the Appraisal. The Court concludes that this evidence is insufficient to present a

jury question as to Kilbride’s claimed reliance on the Appraisal. See Robertson v. Allied Signal,

Inc., 914 F.2d 360, 382 n.12 (3d Cir. 1990) (an inference based on speculation or conjecture does

not create a genuine factual dispute sufficient to defeat summary judgment)). Accordingly the

Court must determine whether an agency relationship existed between Berger and Kilbride such

that Berger’s knowledge of the Appraisal may be imputed to Kilbride.

         C&W argues that there is no evidence that Berger was Kilbride’s agent. Plaintiffs cite

Berger v. Zeghibe, 465 Fed. App’x. 174 at 181 (3d Cir. Feb. 23, 2012), in support of their


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  Plaintiffs rely on Woodward v. Dietrich, 548 A.2d 301,309 (Pa. Super. Ct. 1998) for the proposition that “one who
makes a fraudulent misrepresentation is subject to liability to the persons or class of persons whom he . . . has reason
to expect to act . . . in reliance upon the misrepresentation, for pecuniary loss suffered by them through their
justifiable reliance in the type of transaction.” The plaintiff in Woodward, however, relied on misrepresentations
made by the seller of the property, as well as approvals obtained by the Municipal Authority. Id. at 305. Unlike
plaintiff in that case, plaintiffs in this case have not presented evidence that Kilbride was aware of the contents of the
Appraisal.

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assertion that “the evidence is sufficient to[sic] Berger was an agent for Kilbride.” Memo.

Opp’n. C&W Mot. for Summary J. at 13. In that case, the Third Circuit relied on Berger’s

testimony at trial that “ ‘it [was] understood’ he was there ‘on behalf of . . . [his] companies’” to

conclude that a jury could reasonably conclude that Chawla acted together with Weinstein and

Pine to injure Berger’s entities. Berger, 465 Fed. App’x at 181.

         Plaintiffs bear the burden of proving the existence of an agency relationship between

Kilbride and Berger. Walter v. Johnson, 66 A.3d 782, 787 (Pa. Super. Ct. 2013). An agency

relationship is created where the principal manifests that the agent shall act for him and the agent

accepts the undertaking to act. Volunteer Fire Co. v. Hilltop Oil Co., 602 A.2d 1348, 1352 (Pa.

Super Ct. 1992). “The existence of an agency relationship may be inferred from the facts . . .

[but] we do not assume agency by a mere showing that one person does an act for another.”

Walter, 66 A.3d at 787. While the determination of an agency relationship is usually a question

of fact for the jury, courts have determined agency as a matter of law “when a party presents

evidence insufficient to submit to the jury regarding an agency relationship, or lack thereof.”

Luber v. Underwriters at Lloyds, No. 92-CV-2200, 1992 WL 346467, at *12 (E.D.Pa. Nov. 13,

1992).

         The Court concludes that the evidence is insufficient to establish that Berger acted as

Kilbride’s agent. Kilbride is a discretionary family trust established by Berger’s father. When

asked what his affiliation with Kilbride was, Berger stated: “I haven’t got an affiliation. I’m just

a potential beneficiary.” PSJX-158, Berger Dep. as Corporate Rep. of Kilbride. Berger also

testified that the directors have the authority to invest or loan funds on Kilbride’s behalf. Id.

And when asked why Kilbride agreed to wire those funds, Berger stated that “[a] beneficiary of

the trust was looking for a loan and pursuant to that request, . . . it sent the funds.” PSJX-158,



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Berger Dep. as Corporate Rep. of Kilbride. 5 Berger does not state that he was vested with any

actual or implied authority to invest funds on behalf of Kilbride. Instead, the evidence suggests

that Berger sought a loan from his trustee to invest in River City.

           Plaintiffs have not produced any evidence that Kilbride itself received or was provided

information contained in the Appraisal, nor have they presented evidence that Berger acted as

Kilbride’s agent. Absent such evidence, the Court grants C&W’s Motion for Summary

Judgment as to Kilbride’s claim against C&W.


                  ii.        Whether Busystore Limited and Bergfeld Justifiably Relied

           The 2006 Appraisal’s Intended User Provision stated: “This report was prepared for

Cozen O’Connor, P.C. on behalf of its client J.F.K. Acquisition G.P., L.L.C. and is intended only

for their specified use. The Client together with its professionals, investors, and potential lenders

may consider the appraisal without further permission.” Ex. P-93, at BERGER4210694. C&W

argues that the language of the provision limits reliance to individuals and entities who invested

in, and acquired an ownership in, JFK. Plaintiffs assert that there is no meaningful distinction

between an investment in JFK itself and an investment in River City, because JFK was

established for the purpose of purchasing River City and the only way to invest in River City was

through JFK.

           Plaintiffs have presented evidence, inter alia, that Naselsky asked C&W to expand the

intended users section to include not just JFK, but “its professionals, investors, and potential

lenders.” Ex. P-65. The purpose of this expansion, according to JFK’s attorney, was “to expand

the scope of who could rely on the appraisal” because “[i]t was everyone’s operating belief that

the appraisal was for the use of the buyer, its investors and/or any of the lenders who might be


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    By contrast, with respect to Busystore and Bergfield, Berger is a director and acted on behalf of both companies.

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involved in the JFK transaction.” Pls.’ SOF at 129. And, contrary to C&W’s assertion, the

language of the Intended Users Section is not so clear as to put plaintiffs on notice that reliance

on the Appraisal would be unreasonable. Cf. Brushwitz v. Ezell, 757 So.2d 423, 430 (Ala. 2000)

(“The plaintiffs were fully capable of reading and understanding the document containing the

disclaimer. Any reliance by them on the appraisal would have been unreasonable.”)). Berger

testified, for example, that he believed he was “joining a consortia that had negotiated a

purchase”—the consortia consisting of in relevant part, JFK. PSJX-103, Berger Dep. at 344:3 –

344:10. The Court concludes that plaintiffs have presented sufficient evidence upon which to

conclude that the purpose of the Appraisal—and the expansion its Intended Users Section—was

to induce investment into the Property, through payment to JFK and as a consequence, that

plaintiffs reliance was not unreasonable.


             e) Proximate Cause

       C&W argues that Weinstein’s fraud, not any fraud on the part of C&W, proximately

caused plaintiffs’ damages.

       “Pennsylvania courts utilize the ‘substantial factor’ test from the Restatement (Second) of

Torts to ascertain proximate cause. Heeter v. Honeywell International, Inc., 195 F.Supp.3d 753,

758 (E.D.Pa. 2016) (citing Whitner v. Von Hintz, 263 A.2d 889, 89 –94 (Pa. 1970)). “Where a

jury could reasonably believe that a defendant’s actions were a substantial factor in bringing

about the harm, the fact that there is a concurring cause does not relieve the defendant of

liability.” Powell v. Drumheller, 653 A.2d 619, 622 (Pa. 1995). The substantial factor need not

be the only factor responsible for bringing about the alleged harm. Id. “Indeed, ‘[t]wo or more

causes may contribute to and be the proximate cause of an injury.” Simmons v. Simpson House,

Inc., 224 F.Supp.3d 406, 420 (E.D.Pa. 2016) (citation omitted)). The court may only decide


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proximate causation as a matter of law if it concludes that the jury could not reasonably differ as

to the question of proximate cause. Heeter, 195 F.Supp.3d, at 758 (citing Chetty Holdings Inc. v.

NorthMarq Capital, LLC, 556 Fed. App’x 118, 121 (3d Cir. 2014)); see also Powell, 653 A.2d,

at 622 (The question of concurrent causation is normally one for a jury).

          Plaintiffs have presented evidence that Berger relied, at least in part, on C&W’s

Appraisal. For instance, Berger testified at trial in Berger III that he would not have invested in

River City without receiving C&W’s Appraisal and that receipt of the Appraisal played a

significant role in his decision to invest in the Property. And Berger did not agree to invest in

River City until after receipt of the Appraisal from Chawla. Based on that evidence, the Court

concludes that plaintiffs have demonstrated that there is a genuine issue of material fact as to

whether the C&W Appraisal constituted a “substantial factor” in bringing about plaintiffs’

harm. 6

V.        CONCLUSION

          For the foregoing reasons, C&W’s Motion to Exclude the Expert Testimony of Stephen

D. Roach is granted in part and denied in part. That Motion is granted as to Roach’s opinion on

the subjective beliefs of the C&W appraisers who conducted the 2006 Appraisal and denied in

all other respects. C&W’s Motion to Exclude the Expert Testimony of Albert R. Hughes is

denied. Finally, C&W’s Motion for Summary Judgment is granted in part and denied in part.

That Motion is granted as to plaintiff Kilbride and denied in all other respects.




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  With respect to C&W’s argument that Weinstein’s fraud was the superseding cause of plaintiffs’ loss, the Court
agrees with plaintiffs that the question of whether Weinstein’s actions were “so extraordinary as not to have been
reasonably foreseeable” should be left to the jury. See Bouriez v. Carnegie Mellon Univ., 585 F.3d 765, 773 n.4 (3d
Cir. 2009).

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